               Case 18-15991       Doc 32    Filed 10/10/18     Page 1 of 3



                      UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF MARYLAND
                                 at Baltimore

IN RE CAROL A. BRINKLEY                      *       Case No. 18-15991

                Debtor .                     *       Chapter 13

*       *       *      *       *      *      *

CAROL A. BRINKLEY                            *

        Movant                               *

v.                                           *

CAPITAL ONE AUTO FINANCE                     *

*       *       *      *       *      *      *


                     DEBTORS’ MOTION TO AVOID LIEN AND
                        DETERMINE SECURED STATUS
                          (Pursuant to 11 U.S.C. § 522(f))




       COMES NOW THE DEBTOR, Carol A. Brinkley, by and through the
undersigned counsel, and pursuant to 11 U.S.C. § 522(f) and Fed. R. Bank. P. Rule
3012, and files this motion to avoid the lien of claim no. 1 (the “Claim”) of her 2012
Toyota Highlander. In support thereof, the Debtor respectfully represents as follows:

                                   INTRODUCTION

     1. The Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and
        1334. This motion is a core proceeding under 28 U.S.C. § 157(b). Venue is proper
        28 U.S.C. §§ 1408 and 1409.

     2. The Debtors filed for bankruptcy protection on April 19, 2018.

     3. The Respondent filed its proof of claim, no 1, on May 9, 2018, claiming the
        Debtor(s) is in debt to the respondent in the amount of $	21,999.69, and claiming
        its market value is $18,100.00.

     4. The replacement value of the Vehicle as per NADA Guides is $15,975.00.


                                             1	
              Case 18-15991       Doc 32    Filed 10/10/18     Page 2 of 3



                                  RELIEF SOUGHT

   5. Based on the facts laid out above, the Debtors seeks an Order finding that
      the Respondent’s security interest in the Debtor’s 2012 Toyota Highlander is
      $15,975.00 with an interest rate of 5.75% (Till v. SCS Credit Corporation, 541
      U.S. 465).

        WHEREFORE, the Debtor(s) respectfully request that the Court enter an Order
finding the Respondent’s security interest in the 2012 Toyota Highlander is $15,975 with
an interest rate of 5.75%.


                                                     /s/ John P. Roberts
                                                    John P. Roberts, Bar No. 17578
                                                    The John Roberts Law Firm, PC
                                                    348 Thompson Creek Mall #212
                                                    Stevensville, MD 21666
                                                    202-350-0336




                             CERTIFICATE OF SERVICE


I hereby certify that on the 10th day of October, 2018, a copy of DEBTORS’ MOTION
TO AVOID LIEN AND DETERMINE SECURED STATUS was served upon the
following party or parties either electronically via the court’s ECF:

US TRUSTEE’S OFFICE
Robert Thomas II Ch 13 Trustee


I hereby further certify that on the 10 day of October 2018 a true and correct copy of the
                                     th



DEBTORS’ MOTION TO AVOID LIEN AND DETERMINE SECURED STATUS was
mailed to the respondent and its agent at the addresses below by US Mail, postage
prepaid to:

Rejoy Nalkara, Claims Processor
AIS Portfolio Services, LP
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118
ecfnotices@ascensioncapitalgroup.com
Address on Proof of Claim, Claim no. 1




                                            2	
             Case 18-15991     Doc 32    Filed 10/10/18   Page 3 of 3



Richard D. Fairbank, CEO and President
Capital One Auto Finance
Capital One Financial Corporation,
1680 Capital One Drive
McLean, VA, 22102-3491.
Address of Corporate Officer


CSC-LAWYERS INCORPORATING SERVICE COMPANY
7 ST. PAUL STREET
SUITE 820
BALTIMORE MD 21202
Registered Agent for Service of Process



                                                /s/ John P. Roberts
                                               John P. Roberts, Bar No. 17578
                                               The John Roberts Law Firm, PC
                                               210 E. Lexington St., Suite 407
                                               Baltimore, MD 21202
                                               213-440-0288




                                         3	
